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                Exhibit A
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                                                         ID #:30900


                        1    RUSS AUGUST & KABAT
                             Marc A. Fenster (SBN 181067)
                        2
                             mfenster@raklaw.com
                        3    Dale Chang (SBN 248657)
                             dchang@raklaw.com
                        4
                             Paul A. Kroeger (SBN 229074)
                        5    pkroeger@raklaw.com
                             12424 Wilshire Boulevard, 12FL
                        6
                             Los Angeles, California 90025
                        7    310/826-7474 – Telephone
                             310/826-6991 – Facsimile
                        8
                        9    Attorneys for Plaintiff
                       10    MR TECHNOLOGIES, GMBH

                       11
                                                UNITED STATES DISTRICT COURT
RUSS, AUGUST & KABAT




                       12
                                               CENTRAL DISTRICT OF CALIFORNIA
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                             MR TECHNOLOGIES, GMBH,                       Case No. 8:22-CV-01599-JVS-DFM
                       15
                                               Plaintiff,                 [PROPOSED] JUDGMENT
                       16
                                          v.
                       17    WESTERN DIGITAL
                       18    TECHNOLOGIES, INC.,
                       19                      Defendant.

                       20    WESTERN DIGITAL
                             TECHNOLOGIES, INC.,
                       21
                                               Counterclaimant,
                       22
                                          v.
                       23
                             MR TECHNOLOGIES, GMBH,
                       24
                                               Counterclaim-
                       25                      Defendant.
                       26
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                                                                  [PROPOSED] JUDGMENT
                                                            Case No. 8:22-CV-01599-JVS-DFM
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                                                           ID #:30901


                        1          A jury trial commenced in this case on July 16, 2024. On July 26, 2024, the
                        2    jury returned a unanimous verdict finding infringement of claims 1, 10, and 11 of
                        3    the ’864 Patent and claims 1 and 7 of the ’997 Patent, of no-invalidity of the same
                        4    claims, and that Plaintiff MR Technologies GMBH (“MR Tech”) should recover
                        5    $262,388,800 for such infringement through the expiration of the patents. Dkt. 574.
                        6          Pursuant to Federal Rules of Civil Procedure and in accordance with jury’s
                        7    verdict, the Court’s prior Orders, and the entirety of the record available to the Court,
                        8    the Court hereby ORDERS and ENTERS JUDGMENT as follows:
                        9          1.     Defendant Western Digital Technologies, Inc. (“Western Digital”) has
                       10                 infringed claims 1, 10, and 11 of the ’864 Patent and claims 1 and 7 of
                       11                 the ’997 Patent;
RUSS, AUGUST & KABAT




                       12          2.     Claims 1, 10, and 11 of the ’864 Patent and claims 1 and 7 of the ’997
                       13                 Patent are not invalid;
                       14          3.     MR Tech is hereby awarded compensatory damages from and against
                       15                 Western Digital, and shall accordingly have and recover from Western
                       16                 Digital the sum of $262,388,800;
                       17          4.     MR Tech is further awarded pre-judgment interest in the amount of
                       18                 $116,665,300, pursuant to the concurrently filed application for pre-
                       19                 judgment interest;
                       20          5.     Pursuant to Federal Rule of Civil Procedure 54(d), Local Rule 54-1,
                       21                 and 28 U.S.C. § 1920, MR Tech is the prevailing party in this case and
                       22                 shall recover its costs from Western Digital, and MR Tech is directed
                       23                 to file its proposed Bill of Costs;
                       24          6.     Pursuant to 28 U.S.C. § 1961, the Court awards post-judgment interest
                       25                 applicable to all sums awarded herein, at the statutory rate, from the
                       26                 date of entry of this Judgment until paid; and further
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                       28                                                1
                                                                 [PROPOSED] JUDGMENT
                                                           Case No. 8:22-CV-01599-JVS-DFM
                       Case 8:22-cv-01599-JVS-DFM     Document 579-3       Filed 08/02/24   Page 4 of 4 Page
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                        1          7.     All other relief requested by either party now pending before the Court
                        2                 and not specifically awarded herein is DENIED.
                        3          All other requests for relief regarding the above-captioned case, including
                        4    pursuant to 25 U.S.C. §§ 284 and 285, shall be filed within 28 days of this
                        5    Judgement.
                        6          The Clerk is direct to CLOSE the above-captioned case.
                        7
                        8          IT IS SO ORDERED.
                        9
                       10    DATED: ________________                 By:
                       11                                                       Hon. James V. Selna
                                                                                United States District Judge
RUSS, AUGUST & KABAT




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                                                               [PROPOSED] JUDGMENT
                                                         Case No. 8:22-CV-01599-JVS-DFM
